    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

          MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )         CRIMINAL ACTION NO.
          v.                        )           2:15cr199-MHT
                                    )                (WO)
ELDRICK DEON McNEAL                 )

                          OPINION AND ORDER

      Defendant Eldrick Deon McNeal is now before the

court for sentencing for being a felon in possession of

a   firearm,     in     violation   of   18    U.S.C.    § 922(g)(1).

Defense counsel has moved for a psychiatric evaluation,

contending and citing evidence to suggest that McNeal

may suffer from a mental disease or defect bearing on

the       appropriate    disposition     of     this    case.*    The

government does not object to this evaluation.



      *
     McNeal’s original motion (doc. no. 55) was made
pursuant to 18 U.S.C. § 4244(b). However, at a hearing
held on the record on November 25, 2015, defense
counsel orally amended her motion to be made pursuant
to 18 U.S.C. §§ 4241(b) and 3552(b); she later orally
clarified that she was no longer requesting that an
evaluation   be  conducted   pursuant  to  18   U.S.C.
§ 4244(b).
    The court therefore orders the following: (1) an

evaluation pursuant to 18 U.S.C. § 4241(b) of whether

McNeal is currently suffering, and at any time since

these criminal proceedings were initiated has suffered,

“from a mental disease or defect rendering him mentally

incompetent       to    the       extent     that    he   is    unable   to

understand       the        nature     and      consequences        of   the

proceedings against him or to assist properly in his

defense”;    and       (2)    a    presentence       study     of   McNeal’s

mental health pursuant to 18 U.S.C. § 3552(b), for the

purpose     of    assisting          the   court     in   fashioning      an

appropriate sentence in the event that McNeal is found

competent.



                              I.     Background

    According          to    records       of   inpatient      psychiatric

treatment    in    2002,      McNeal       suffers    from     “significant

learning deficits” and “auditory processing deficits,”


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and     displays      an     “overall      pattern   of      borderline

intellectual functioning.”                He has been hospitalized

several      times   and    prescribed     psychotropic      medication

(including an anti-psychotic).               He has a “history of

hallucinations.”



                     II.    Competency Evaluation

      A court may          order a competency evaluation on           a

defendant’s motion, or sua sponte, “at any time after

the commencement of a prosecution for an offense and

prior to the sentencing of the defendant,” if there is

“reasonable cause to believe that the defendant may

presently be suffering from a mental disease or defect

rendering him mentally incompetent to the extent that

he is unable to understand the nature and consequences

of the proceedings against him or to assist properly in

his defense.”          18 U.S.C. § 4241(a).             The court may

order    a   defendant      to   be   committed   for    a   reasonable


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period to the custody of the Attorney General to be

placed in a suitable Bureau of Prisons facility for

this competency examination.               18 U.S.C. §§ 4241(b) and

4247(b).

     In this case, based on the representations made by

McNeal’s counsel in his motion and during a conference

call held on the record on November 24, 2015, and a

hearing held on the record on November 25, 2015, the

court finds that there is reasonable cause to believe

that McNeal may not be competent.

     The court will, therefore, order McNeal committed

to   the   custody   of   the    Attorney         General       for   further

evaluation by the Bureau of Prisons, pursuant to 18

U.S.C. §§ 4241(b) and 4247(b).              The examination must be

completed within a reasonable period of time not to

exceed 30 days; the director of the facility to which

McNeal     is   committed       may       apply    for      a    reasonable

extension not to exceed 15 days.                  18 U.S.C. § 4247(b).


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Once the examination is complete, the examiner shall

prepare a report, and file this report with the court

and    with    counsel.            This       report     should        include   a

description        of   the    psychological            and    medical      tests

administered         and      their           results;      the        examiner’s

findings, diagnosis, and view as to the prognosis of

McNeal’s mental condition; and the examiner’s opinions

as to whether, given the demands that may be made on

McNeal throughout the pendency of this prosecution, he

has    been,       since    the     initiation         of     these      criminal

proceedings, and is currently able to assist properly

in his defense.

       If, after this evaluation, the court finds that

McNeal is incompetent, the court will then be required

to commit him to the Attorney General’s custody, and he

will    be     hospitalized        for        treatment       in   a     suitable

facility      in    order     to    determine       whether        there    is   a

substantial         probability       that,        in       the    foreseeable


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future, he will attain sufficient capacity to permit

the proceedings to go forward.           18 U.S.C. § 4241(d)(1).



                     III.   Presentence Study

      In addition to the above               study, the court also

orders a mental-health evaluation pursuant to 18 U.S.C.

§ 3552(b),    for     the    purpose         of    assisting   it     in

fashioning an appropriate sentence if McNeal is found

competent.

      “Although district court are no longer bound to

follow the Sentencing Guidelines after United States v.

Booker, 543 U.S. 220 (2005), they still must consult

the    Guidelines     and   take       them       into   account     when

sentencing defendants.”        United States v. Todd, 618 F.

Supp. 2d 1349, 1352-53 (M.D. Ala. 2009) (Thompson, J.).

The   court   must    calculate        the    applicable     range    of

sentences recommended by the Guidelines.                 The court may




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then    decide     to    impose    a       sentence    outside      of     the

Guidelines system, commonly known as a “variance.”

       The court is bound, however, to impose a sentence

that is reasonable.           The factors set forth in 18 U.S.C.

§ 3553(a)     guide      the    court’s       determination        of     the

reasonableness of a sentence.                 Those factors are (1)

the nature and circumstances of the offense; (2) the

history and characteristics of the defendant; (3) the

need for the sentence imposed to punish the offender,

protect the public from the defendant, rehabilitate the

defendant,    deter      others,    and      provide     educational        or

vocational training and medical care; (4) the kinds of

sentences        available;       (5)       the       sentencing         range

established      by     the    Sentencing         Guidelines;      (6)    any

pertinent policy statements issued by the Sentencing

Commission; (7) the need to avoid unwarranted sentence

disparities among defendants with similar records who




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have been found guilty of similar conduct; and (8) the

need for restitution.         18 U.S.C. § 3553(a).

    U.S.      Probation         officers             routinely     prepare

presentence investigation reports to assist the court

during   sentencing        pursuant       to    18    U.S.C.     § 3552(a).

However, 18 U.S.C. § 3552(b) also authorizes the court

to order a “study of the defendant” if it “desires more

information       than   is   otherwise        available    to    it   as   a

basis for determining the sentence to be imposed.”                          18

U.S.C. § 3552(b).          The evaluation period “shall be no

more than sixty days.”            Id.          However, the court may

grant an extension for “an additional period of not

more than sixty days.”           Id.      The court here desires a

report on how McNeal’s mental health impacts any or all

of the eight sentencing factors listed above.

    While     a    presentence    study         ordinarily       “shall     be

conducted     in     the      local       community        by    qualified

consultants,” the statute also authorizes the court to


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order that the study be done by the Bureau of Prisons

upon the finding of a “compelling reason.”             In this

case, the court finds that the fact that McNeal is

already in the custody of the Bureau of Prisons and

will be examined by its mental-health professionals for

the purposes of a competency evaluation constitutes a

compelling reason to order that the presentence study

be conducted by the Bureau of Prisons as well.



                         * * *



    Accordingly, it is ORDERED as follows:

    (1) Defendant   Eldrick       Deon   McNeal’s   motion   for

evaluation (doc. no. 55) is granted as further set out

below.

    (2) The Attorney General shall identify a placement

for defendant McNeal for the evaluations described in

this order.


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     (3) With     regard    to    the    competency        evaluation

pursuant to 18 U.S.C. § 4241(b):

         (A) Defendant McNeal will be examined for a

reasonable period not to exceed 30 days from the date

of admission or arrival at the appropriate facility by

a licensed or certified psychiatrist or psychologist,

pursuant to the provisions of 18 U.S.C. §§ 4241(b) and

4247(b) and (c).      The director of the facility at which

defendant McNeal is evaluated may thereafter apply for

a reasonable extension not to exceed 15 days.

         (B) A psychiatric or psychological report shall

be filed with the court pursuant to the provisions of

18 U.S.C. §§ 4241(b) and 4247(b) and (c).                  The report

shall include an opinion as to whether defendant McNeal

is   currently    suffering,     and    at    any   time   since    the

initiation of these criminal proceedings has suffered,

from a mental disease or defect rendering him mentally

incompetent      to   the   extent     that    he    is    unable   to


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understand       the       nature    and        consequences     of      the

proceedings against him or to assist properly in him

defense.

       (4) With regard to the presentence study pursuant

to 18 U.S.C. § 3552(b):

           (A) The examining psychiatrist or psychologist

shall      evaluate          defendant      McNeal’s     psychological

condition    for       the    purposes     of   sentencing     and     shall

include his or her findings in either the competency

evaluation or in a separate report to be presented to

this    court        within    60   days    of     defendant     McNeal’s

admission       to     the     facility.         The   court,     in     its

discretion,          may     thereafter     extend     the     period     of

evaluation for no more than 60 additional days.

            (B) In particular, the study shall address how

defendant McNeal’s mental health impacts the sentencing

factors set forth in 18 U.S.C. § 3553(a), as well as




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any other matters the Bureau of Prisons believes are

pertinent to those factors.

    DONE, this the 30th day of November, 2015.

                             /s/ Myron H. Thompson
                         UNITED STATES DISTRICT JUDGE
